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                               UNITED STATES  DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


WILLIAM MOSS                                                       CIVIL ACTION

VERSUS                                                             NUMBER: 13‐5136

STATE OF LOUISIANA                                                  SECTION: "H"(5)


                                                O R D E R

       The Court, having considered the petition, the record, the applicable law, the Magistrate

Judge's Report and Recommendation, and the failure of petitioner to file any objections to the

Magistrate Judge's Report and Recommendation, hereby approves the Magistrate Judge's Report

and Recommendation and adopts it as its opinion herein.

       Accordingly,

       IT IS ORDERED that the application for federal habeas corpus relief of petitioner, William

Moss, is DISMISSED with prejudice.



                                     New Orleans, Louisiana, this 8th day of January, 2014.



                                                        ____________________________
                                                        JANE TRICHE MILAZZO
                                                        UNITED STATES DISTRICT JUDGE
